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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            CASE NO. 8:05CR131
                                            )
                        Plaintiff,          )
                                            )              MEMORANDUM
       vs.                                  )               AND ORDER
                                            )
PABLO REZA LANDIN,                          )
                                            )
                        Defendant.          )

       This matter is before the Court on the Defendant’s Notice of Appeal (Filing No. 454),

construed as a motion for a certificate of appealability, and the Clerk’s memorandum

addressing the Defendant’s ability to proceed on appeal in forma pauperis (Filing No. 455).

The Defendant appeals from the Memorandum and Order (Filing No. 450) and Judgment

(Filing No. 451) denying his Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody (“§ 2255 motion"). Federal Rule of

Appellate Procedure 24 governs the Defendant’s ability to proceed in forma pauperis in this

appeal.

       However, before the Defendant may appeal the denial of his § 2255 motion, a

“Certificate of Appealability” must issue. Pursuant to the Antiterrorism and Effective Death

Penalty Act of 1996, Pub. L. No. 104-132, 110 Stat. 1214 (“AEDPA”), the right to appeal

the denial of a § 2255 motion is governed by the certificate of appealability requirements

of 28 U.S.C. § 2253(c). 28 U.S.C. § 2253(c)(2) provides that a certificate of appealability

may issue only if the applicant has made a substantial showing of the denial of a

constitutional right:

       (c)(1) Unless a circuit justice or judge issues a certificate of appealability, an
       appeal may not be taken to the court of appeals from–
                                               ....

               (B) the final order in a proceeding under section 2255.

       (2) A certificate of appealability may issue under paragraph (1) only if the
       applicant has made a substantial showing of the denial of a constitutional
       right.
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       (3) The certificate of appealability under paragraph (1) shall indicate which
       specific issue or issues satisfy the showing required by paragraph (2).

28 U.S.C. § 2253(c).

       A “substantial showing of the denial of a constitutional right” requires a

demonstration “that reasonable jurists could debate whether (or, for that matter, agree that)

the petition should have been resolved in a different manner or that the issues presented

were ‘”adequate to deserve encouragement to proceed further.”’“ Slack v. McDaniel, 529

U.S. 473, 484 (2000) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983)).

       The issues raised in the § 2255 motion were carefully considered. For the reasons

set forth in the Court’s previously issued Memorandum and Order (Filing No. 450) denying

the defendant’s § 2255 motion, the Court concludes that the Defendant has not made a

substantial showing of the denial of a constitutional right as required by 28 U.S.C. §

2253(c).

       IT IS ORDERED:

       1.     The Defendant’s motion for a certificate of appealability (Filing No. 454) is
              denied;

       2.     The Court denies the Defendant leave to proceed in forma pauperis on
              appeal;

       3.     The Clerk of Court is directed to send a copy of this Memorandum and Order
              to the Eighth Circuit Court of Appeals; and

       4.     The Clerk is directed to mail a copy of this Memorandum and Order to the
              Defendant at his last known address.

       DATED this 26th day of August, 2010.

                                          BY THE COURT


                                          s/Laurie Smith Camp
                                          United States District Judge




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